       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Jonta Ramsey
        v. Commonwealth of Virgnia
        Record No. 1960-14-1
        Opinion rendered by Judge O’Brien on
         December 8, 2015

    2. Jason Merritt Overbey
        v. Commonwealth of Virginia
        Record No. 1470-14-2
        Opinion rendered by Judge Alston on
         December 15, 2015
   The following case in which the Court of Appeals issued a published opinion has been
disposed of by the Supreme Court:

1. Kevin Lamont Martin
   v. Commonwealth of Virginia
   Record No. 0719-14-1
   Opinion rendered by Judge McCullough
    on April 28, 2015
   Refused (150836)
